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                       EXHIBIT 23
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                                                                Trimble, Michael MD (F&P Expert) 9/2/2008 9:15:00 AM
                                                                 -                                                                  3
            IN THE UNITED STATES DISTRICT COURT                        1
             FOR THE DISTRICT OF MASSACHUSETTS                         2                 INDEX
        IN RE:                         Videotape                       3
        NEURONTIN MARKETING, SALES : Deposition of:                    4   WITNESS                      DIRECT
                                                                       5   PROFESSOR MICHAEL TRIMBLE
        PRACTICES AND PRODUCTS                     :
                                                                       6
        LIABILITY LITIGATION               : MICHAEL TRIMBLE
                                                                       7    Ms. McGroder                  6
                               :
                                                                       8
        ----------------------------
                                                                       9                EXHIBITS
        THIS DOCUMENT RELATES TO:                                     10
        Smith, et al. v Pfizer, et al.                                11   NUMBER        DESCRIPTION                        PAGE
        Case No. 05-cv-11515-PBS                                      12   TRIMBLE
             TRANSCRIPT of testimony as taken by and                  13
        before PATRICIA A. SANDS, a Shorthand Reporter                14   Exhibit 1    Declaration              37
        and Notary Public of the States of New York and               15   Exhibit 2    Aid memoir                  37
        New Jersey, at the offices of Lanier Law Firm,                16   Exhibit 3    Fromson letter              40
        126 East 56th Street, New York, New York, on                  17   Exhibit 4    Table 15 & pg 37 of report        89
                                                                      18   Exhibit 5    Table 7.20               95
        Tuesday, September 2, 2008, commencing at 9:15
                                                                      19   Exhibit 6    Graphic                97
        in the forenoon.
                                                                      20   Exhibit 7    Article               112
            REPORTING SERVICES ARRANGED THROUGH:
                                                                      21   Exhibit 8    Literature             113
            VERITEXT/NEW JERSEY REPORTING COMPANY
                                                                      22   Exhibit 9    Notes                 117
                25B Vreeland Road, Suite 301                          23
               Florham Park, New Jersey 07932                         24
        Phone: (973) 410-4040             Fax: (973) 410-1313         25



                                                                 2                                                                  4
   1    A P P E A R A N C E S:                                         1       E X H I B I T S, continued.
   2                                                                   2
   3    FINKELSTEIN & PARTNERS
        436 Robinson Avenue                                            3   NUMBER        DESCRIPTION                        PAGE
   4    Newburgh, New York 12550                                       4   TRIMBLE
        BY: ANDREW G. FINKELSTEIN, ESQ.
                                                                       5
   5    For the Plaintiff
        800 634-1212                                                   6   Exhibit 10    Expert reports             128
   6                                                                   7   Exhibit 11    Gabapentin papers                129
   7    THE LANIER LAW FIRM
        Tower 56                                                       8   Exhibit 12    Questionaire               130
   8    126 East 56th Street, 6th Floor                                9   Exhibit 13    Re GABA receptors                132
        New York, New York 10022                                      10   Exhibit 14    PubMed article               134
   9    BY: KENNETH SOH, ESQ.
        For the Plaintiff                                             11   Exhibit 15    Questionaire               140
   10   212 421-2800                                                  12   Exhibit 16    APA Guidelines                  214
   11                                                                 13   Exhibit 17    Cato's medical records           286
        SHOOK, HARDY & BACON, LLP
   12   2555 Grand Boulevard                                          14   Exhibit 18    McComb's records                 311
        Kansas City, Missouri 64108-2613                              15
   13   BY: LORI CONNORS McGRODER, ESQ.
                                                                      16
        For the Defendant
   14   816 474-6550                                                  17
   15                                                                 18
   16   ALSO PRESENT:
   17    Adam DiCola, Videographer                                    19
   18                                                                 20
   19                                                                 21
   20
   21                                                                 22
   22                                                                 23
   23                                                                 24
   24
   25                                                                 25




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   1    A, does that, in and of itself, increase the             1   of Cindy, whose surname I don't know, but I
   2    risk for suicide; and, therefore, would factor           2   think she was -- well, she was one of his
   3    A, in and of itself, predict suicide.                    3   daughters.
   4       Q    And prediction part is the part that             4      Q     Okay.
   5    would require a statistical analysis; is that            5      A    And, by the way, his own statements.
   6    what you're saying?                                      6      Q     His own statements as reported by
   7       A   It could, but here I'm using it in                7   these other individuals?
   8    the lay sense.                                           8      A    Correct.
   9       Q    Okay.                                            9      Q     Is being loopy, in and of itself, a
   10      A   In the clinical sense.                           10   risk factor for suicide?
   11      Q    Okay. Let's get through this stack,             11           MR. FINKELSTEIN: Objection.
   12   and then we will move on. You also have in the          12           THE WITNESS: No.
   13   stack of materials you brought with you today           13   BY MS. McGRODER:
   14   the deposition of Ruth Smith. Which you read;           14      Q     Okay. You also have in this stack
   15   correct?                                                15   the expert report on general medical causation
   16      A   Correct.                                         16   of Dr. Sanacora.
   17      Q    Did you make notes on the deposition            17      A    Correct.
   18   of Ms. Smith?                                           18      Q     Is there a reason why you brought
   19      A   I don't believe so. I mean, there                19   that here with you today?
   20   may well be bits that I have ruled out and              20      A    I was reviewing these on the
   21   maybe fulfilled a reference.                            21   airplane, because these are the main experts
   22      Q    There is a yellow, I'm sorry, an                22   involved in this case, and it seemed correct
   23   orange sticky that appears at page 147. Did             23   that I should review the material before the
   24   you put the orange sticky there?                        24   deposition, in case you might ask me about
   25      A   Yes, and I made some notes.                      25   them.



                                                          126                                                          128
   1       Q    And you highlighted this sentence:               1      Q     So would the same be true for the
   2    "He stated I'm on Neurontin and it makes me              2   copies that you brought with you of the expert
   3    feel loopy". On page 147.                                3   reports of Dr. Doug Jacobs and Anthony
   4       A   Yes.                                              4   Rothschild?
   5       Q    Why did you highlight that?                      5      A    That is correct.
   6       A   Because it is one of five different               6      Q     Okay. And do you recognize Doug
   7    statements that Mr. Smith made about Neurontin           7   Jacobs as an expert in suicidology?
   8    affecting his mental state.                              8      A    Which is why I wished to see his
   9       Q    Okay. And you also highlighted                   9   book, which I got when I was here.
   10   materials on page 143 and 145; correct?                 10      Q     So the answer is yes?
   11      A   Yes.                                             11      A    Correct.
   12      Q    And take a look at those, if you                12           MS. McGRODER: Let's mark these as
   13   would, and tell me why you highlighted those.           13      Exhibit 10. I'm marking as Exhibit 10 to
   14      A   Well, these are further statements               14      the deposition, expert reports of Doctors
   15   that Mr. Smith made to his wife indicating that         15      Sanacora, Jacobs and Rothschild.
   16   he, his mental state had been altered while he          16           (Exhibit 10 marked for
   17   was on Neurontin.                                       17      identification.)
   18      Q    Do you rely on anything other than              18   BY MS. McGRODER:
   19   the testimony of Ruth Smith to support your             19      Q     Which appear to have your notes on
   20   opinion that Mr. Smith's mental state was               20   them, Dr. Trimble. Do you recall when you made
   21   altered while on Neurontin?                             21   those notes?
   22      A   Yes.                                             22      A    I think -- (Reviewing document.) You
   23      Q    Okay. And what do you rely on?                  23   mean the sort of scribblings?
   24      A   The statement of Dr. Wood, the                   24      Q     Yes.
   25   statement of his son-in-law, and the statement          25      A    When I first received them.




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   1       they have read it.                                   1   BY MS. McGRODER:
   2    BY MS. McGRODER:                                        2      Q     So timing wise, a patient takes a
   3       Q    Okay. Well, they have confirmed the             3   dose of Neurontin. How long after the patient
   4    receipt of it.                                          4   ingests Neurontin are they at an increased risk
   5       A    Yeah.                                           5   of suicide; do you know?
   6       Q    And so they told Mr. Finkelstein in a           6      A     I don't know exactly, no.
   7    letter they were reviewing it.                          7      Q     Has that ever been studied?
   8       A    Okay.                                           8      A     No.
   9       Q    Okay. So, so we are halfway to the              9      Q     And you, yourself, have never studied
   10   end of the assumption. The rest of the                 10   that?
   11   assumption is they did, in fact, review it.            11      A     No.
   12      Okay, so assume with me that they did, in           12      Q     And any answer to that question would
   13   fact, review your report.                              13   be speculative?
   14      A    Okay.                                          14            MR. FINKELSTEIN: Objection.
   15      Q    Okay. If they did, in fact, review             15            THE WITNESS: Yes.
   16   your report, which sets out your mechanistic           16   BY MS. McGRODER:
   17   theory of biologic plausibility for how you            17      Q     What is the dose of Neurontin that is
   18   believe Neurontin can cause suicide. They, in          18   required in order to increase the risk of
   19   fact, did not adopt your report, and came away         19   suicide in any patient?
   20   from it stating there is still no clear                20      A     I explained earlier that there is no
   21   mechanistic explanation for how these drugs            21   direct relationship between dose by mouth and
   22   cause suicide. Agree?                                  22   the amount of drug in the brain.
   23          MR. FINKELSTEIN: Objection.                     23      Q     So my question to you still is: What
   24          THE WITNESS: If all of your                     24   is the dose that's required to induce
   25      assumptions are true, then either they              25   suicidality in a person who takes Neurontin?



                                                         246                                                            248
   1       don't like it or they reject it, or they             1      A     It depends on the metabolism of the
   2       have some alternative explanation.                   2   drug in that particular person. It's
   3    BY MS. McGRODER:                                        3   individual to the individual person. And it's
   4       Q    Based on what they said at the                  4   individual -- it's individual to the person's
   5    advisory committee, they don't have an                  5   brain.
   6    alternative explanation; agree?                         6      And I have emphasized how elderly people
   7           MR. FINKELSTEIN: Objection.                      7   are more susceptible to drugs across the blood
   8           THE WITNESS: At the present time,                8   brain barrier. So it's very variable, but it
   9       they do not, yes.                                    9   relates to the individual.
   10   BY MS. McGRODER:                                       10      Q     All right, well, then, let's
   11      Q    How soon after patient takes                   11   categorize individuals as best we can. Let's
   12   Neurontin, are they at an increased risk for           12   talk about that in elderly.
   13   suicide, according to your opinion?                    13      In the elderly, what is dose required to
   14      A    Changes in the central nervous system          14   induce suicidality in a elderly person?
   15   are seen very early on after taking the drug,          15      A     I don't know.
   16   within a few days. Well, actually within a few         16      Q     Well, do you have a theory?
   17   hours. If you look at EEGs, for example. If            17      A     There is no direct relationship
   18   you look at EEGs, for example. So the changes          18   between dose and what goes on in the brain.
   19   of brain chemistry begin to occur early, uhm,          19      Q     So then --
   20   but the risk must increase thereafter I guess.         20      A     So the dose itself is not that
   21      Q    You don't know?                                21   relevant.
   22      A    Well, not exactly.                             22      Q     So then there is no direct
   23          MR. FINKELSTEIN: Objection.                     23   relationship between dose and what goes on in
   24          THE WITNESS: Not exactly.                       24   the brain in order to induce suicidality?
   25                                                          25            MR. FINKELSTEIN: Objection.




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   1            THE WITNESS: Correct.                            1   that older kidneys don't get rid of the drugs
   2    BY MS. McGRODER:                                         2   so efficiently.
   3       Q     So you opinion is dose is -- there is           3      Q    So are there data that support your
   4    no dose response for suicidality with                    4   opinion, other than this principle, this, I
   5    Neurontin?                                               5   guess you would call it pharmacologic
   6            MR. FINKELSTEIN: Objection.                      6   principles you're relying on, are there data
   7            THE WITNESS: That's correct.                     7   that support that it takes longer for elderly
   8    BY MS. McGRODER:                                         8   to eliminate Gabapentin than other age groups?
   9       Q     What about -- well, I guess the                 9      A    I'm not certain if there are specific
   10   answer would be the same for, let's say adults          10   studies on the elimination rate of Gabapentin
   11   between the age of 25 and 65, is your answer            11   specifically in the elderly, but I don't see
   12   the same, there is no dose response for                 12   why Gabapentin would be any different from a
   13   suicidality for individuals within that age             13   vast number of other drugs that have been
   14   category?                                               14   looked at in elderly people.
   15           MR. FINKELSTEIN: Objection.                     15      Q    And the other drugs that you're
   16           THE WITNESS: Well, yes.                         16   thinking of are anti-epileptics?
   17   BY MS. McGRODER:                                        17      A    Well, no, just as a general principle
   18      Q     And so then I assume same would be             18   of pharmacology.
   19   true for individuals who are younger than 25?           19      Q    So as you sit here today, you have no
   20      A    Yes.                                            20   data to support your opinion that Neurontin
   21      Q     How many consecutive days of                   21   takes longer -- would have a longer half life
   22   Gabapentin administration does it take to get a         22   in the elderly, because it takes longer to
   23   steady state?                                           23   eliminate?
   24           MR. FINKELSTEIN: Objection.                     24      A    I do not, but my belief is that the
   25           THE WITNESS: Half life's quite short            25   answer to your question would be found in



                                                          250                                                          252
   1       with the Gabapentin. And probably 24, 48              1   company documents.
   2       hours, two days.                                      2      Q    Have you looked for those company
   3    BY MS. McGRODER:                                         3   documents?
   4       Q     What is the half life of Neurontin?             4      A    I haven't specifically looked for
   5       A    Six hours. Depending on age, of                  5   those company documents.
   6    course.                                                  6      Q    Where would you look?
   7       Q     What's the half life in elderly                 7
   8    individuals?                                             8      A    Well, it may well be that the company
   9       A    The half life is much extended in                9   in the very early days when you have a new
   10   elderly individuals.                                    10   product, you look for biological variables in
   11      Q     And what's your basis for saying               11   the human volunteer population.
   12   that?                                                   12      Q    The pharmacokinetic studies?
   13      A    The half life of all drugs is                   13      A    Yes. And often these are not
   14   extended in elderly individuals, because they           14   published and whatever, so but it may well be
   15   have less efficient mechanisms to clear the             15   that the data is available.
   16   drug from the system.                                   16      Q    Mr. Finkelstein didn't provide you
   17      Q     You are aware, Dr. Trimble, that               17   with the pharmacokinetic studies --
   18   Neurontin is not metabolized by the liver;              18      A    No.
   19   correct?                                                19      Q    -- related to Gabapentin?
   20           MR. FINKELSTEIN: Objection.                     20      A    No. No.
   21           THE WITNESS: No, it's the kidney                21      Q    I want to make sure I got this. I
   22      that is, begins to fail as you get older.            22   think when I asked you how many days it took to
   23   BY MS. McGRODER:                                        23   get to steady state, you said it would depend
   24      Q     So short of kidney failure --                  24   on the half life; right?
   25      A    Well, it's not failure, it's just               25      A    The steady state is usually related




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   1    the package insert for Neurontin?                        1      A    Okay.
   2           MR. FINKELSTEIN: Objection.                       2      Q    And you take your last dose.
   3           THE WITNESS: I don't quite                        3      A    Okay.
   4       understand your question.                             4      Q    How long before there is no
   5           MR. FINKELSTEIN: I think your                     5   appreciable Gabapentin in your system?
   6       foundation question, you may want to just             6      A    I would say several days, at least.
   7       ask it again.                                         7      Q    And on what do you base your opinion
   8           MS. McGRODER: Thank you.                          8   that it would be several days at least?
   9    BY MS. McGRODER:                                         9      A    On what I've just said, that the drug
   10      Q    Assuming that after you reach half              10   has to come out of the body tissue, body
   11   life, you've eliminated half the drug; correct?         11   system. But that is a guess. As far as I
   12      A   Right.                                           12   know, it's not been looked at.
   13      Q    After that, you're still eliminating            13      Q    What is the point at which the drug
   14   the drug; correct?                                      14   would have no clinical effect following last
   15      A   Correct.                                         15   ingestion?
   16      Q    So how long after half life, or                 16      A    That is a different question again.
   17   backing it up to ingestion, how long after              17      Q    Yes, that's why I asked it.
   18   ingestion of the drug does it take until an             18      A    If you have a drug which acts on the
   19   individual has no appreciable Gabapentin in             19   brain and influences brain neurochemistry, you
   20   their system?                                           20   may well have an effect on the central nervous
   21          MR. FINKELSTEIN: You're just                     21   system which by far outlasts the effect of the
   22      presuming no more ingestion? That's the              22   amount of the blood, of what's in the blood.
   23      only reason why I did it.                            23      So once you have got the blood into the
   24          MS. McGRODER: Exactly.                           24   brain, you're talking again about a different
   25          MR. FINKELSTEIN: Because that's what             25   system to just looking at what comes out when



                                                          258                                                          260
   1       you're missing.                                       1   you stop the drug from the blood stream.
   2           THE WITNESS: It's a single dose?                  2      Q    All right, and so my question is
   3       This is a single-dose study?                          3   related to clinical effects. So maybe you
   4    BY MS. McGRODER:                                         4   tried to answer my question and I just didn't
   5       Q    Yes, let's talk single dose for now.             5   understand your answer.
   6       A   Okay, because that's crucial,                     6      But my question is: How long after your
   7    obviously, but I don't know, uhm -- I don't              7   last ingestion of Gabapentin would you expect
   8    know if that's even been looked at. It                   8   there to be any clinical effect -- let's say,
   9    probably has, but with the short half life, it           9   let's say you're taking Gabapentin for pain
   10   probably would clear within 24 hours.                   10   reduction -- how long after your last dose of
   11      Q    Is it not important to your opinion             11   Gabapentin would you have clinical, the
   12   in the Smith case to know how long it takes for         12   clinical effect of pain reduction?
   13   Neurontin to clear from the system following            13          MR. FINKELSTEIN: Objection.
   14   the last dose?                                          14          I don't know that there's any
   15      A   That's a different question, though.             15      efficacy that it's ever been established
   16   The question as to what happens when you take a         16      that Gabapentin has any effect --
   17   single dose is very different to somebody who           17          MS. McGRODER: Objection to form is
   18   takes multiple doses, because the body becomes          18      fine.
   19   saturated with the product. And if you stop             19          MR. FINKELSTEIN: -- on pain
   20   taking the drug, you will still get the product         20      reduction.
   21   emerging from fatty tissue, for example.                21          THE WITNESS: I do not know the
   22      So the delay, when you've been taking the            22      literature on the use of Gabapentin in
   23   drug chronically, is very different.                    23      chronic pain.
   24      Q    Okay, let's say you have been taking            24   BY MS. McGRODER:
   25   Gabapentin for two months.                              25      Q    All right, well, let's talk about an




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   1       Q    You cannot answer because you don't              1      Mr. Smith taking Neurontin.
   2    know?                                                    2   BY MS. McGRODER:
   3       A    It's not within the depositions, I               3      Q    Okay, so the evidence that you have
   4    don't believe. I don't know is the answer.               4   that Neurontin was, in fact, ingested by
   5       Q    So your testimony is that none of the            5   Mr. Smith comes from Ruth Smith's deposition
   6    family members have testified to whether they            6   testimony?
   7    personally observed Mr. Smith taking                     7      A   And his own words, of course.
   8    Gabapentin?                                              8   Mr. Smith's own words.
   9       A    I would like to be slightly cautious,            9      Q    Okay, and what else? Anything else?
   10   because I read a large number of depositions            10      A   The fact that he had the medication,
   11   yesterday and I read them in the past, and I            11   not strong evidence, but he had the medication
   12   may be incorrect, but I do not know of any              12   at his home. And, well, his own words.
   13   deposition which has said that Mr. Smith was            13      Q    Anything else? I just want to make
   14   observed three times a day taking his                   14   sure we've talked about everything that you
   15   medication, by any family member.                       15   believe supports your opinion that he took
   16      Q    Well, you read Mrs. Smith's                     16   Neurontin.
   17   deposition a while ago, before you offered your         17      A   Well, there is also the fact that he
   18   report; correct?                                        18   underwent a mental state change, which needs to
   19      A    That's correct.                                 19   be explained -- well, after he went on to the
   20      Q    The rest of the depositions you just            20   Gabapentin, which we know ultimately led to his
   21   read yesterday; right? That's the testimony             21   suicide, so the mental state change, as a
   22   you gave.                                               22   behavioral neurologist, leads me to ask the
   23      A    Yes.                                            23   questions: What was the trigger factor that
   24      Q    Well, did you reread them, or did you           24   lead to these events? And the alteration of
   25   read them for the first time yesterday?                 25   his mental state has to be included as the



                                                          266                                                          268
   1       A    Well, I read them for the first time             1   potential factor.
   2    yesterday.                                               2      Q    That's your opinion?
   3       Q    Right. And in those depositions you              3      A   Uh hum.
   4    did you not find any testimony of the family             4      Q    Which is fine. I'm talking about
   5    members wherein they stated I did not                    5   evidence in the record that he actually
   6    personally observe Mr. Smith take Neurontin,             6   ingested Neurontin. And we've talked about
   7    you didn't see that in those depositions you             7   Mr. Smith's deposition, we've talked about
   8    read yesterday?                                          8   statements that Mr. Smith made, and that
   9           MR. FINKELSTEIN: Objection.                       9   Neurontin was in the home; correct?
   10          THE WITNESS: I did not observe or I              10      A   Correct.
   11      did observe?                                         11      Q    Anything else?
   12   BY MS. McGRODER:                                        12      A   Not that I read in the depositions,
   13      Q    Did not. Do you want me to restate              13   no.
   14   the question?                                           14      Q    What was Mr. Smith's Gabapentin level
   15      A    I think so.                                     15   at the time of his suicide?
   16      Q    In the depositions that you read                16      A   Sadly -- well, not sadly. The
   17   yesterday and in the Ruth Smith deposition that         17   autopsy never included any biochemical
   18   you read a year ago, you didn't find any                18   analysis.
   19   references to family members giving testimony           19      Q    Well, he didn't have an autopsy; did
   20   that they did not personally observe Mr. Smith          20   he?
   21   take Neurontin?                                         21      A   Okay, I'm sorry. Blood was not taken
   22          MR. FINKELSTEIN: Objection.                      22   to look to see what -- well, they didn't
   23          THE WITNESS: They did not personally             23   measure -- actually it was taken, blood was
   24      observe -- I don't recall any family                 24   taken, but they didn't measure Gabapentin.
   25      member saying they did not observe                   25      Q    Other than a post-mortem blood




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   1    screen -- well, let me articulate it                     1   so that he impulsively committed suicide? What
   2    differently.                                             2   dose was required to make that happen and
   3       Setting aside a post-mortem blood screen              3   result in suicide?
   4    that doesn't identify Gabapentin -- well,                4      A     He was on 300 milligrams three times
   5    withdrawn.                                               5   a day, so we would have to say that was a
   6       It's true that you have no evidence as you            6   necessary and sufficient dose.
   7    sit here today that Mr. Smith had Gabapentin in          7      Q     But you have no evidence that he was
   8    his body at the time of his suicide?                     8   taking 300 milligrams three times a day at the
   9           MR. FINKELSTEIN: Objection.                       9   time of his suicide?
   10          THE WITNESS: There is no evidence                10      A     I have said that we only have
   11      that Mr. Smith had Gabapentin inside his             11   indirect evidence that he was taking that.
   12      body in terms of biochemical evidence,               12      Q     Well, in your opinion, what dose
   13      that is correct.                                     13   would it take for a patient to impulsively
   14   BY MS. McGRODER:                                        14   commit suicide as a result of taking Neurontin?
   15      Q    What was Mr. Smith's active serotonin           15           MR. FINKELSTEIN: Objection.
   16   level at the time of his suicide?                       16           THE WITNESS: I think you could see
   17      A    I really am not even going to                   17      this in somebody taking 300 milligrams a
   18   counsel -- I'm not going to counsel even                18      day, depending on that person, the way
   19   answering that question.                                19      they metabolize the drug and what happens
   20      Q    You don't know?                                 20      when the drug gets to the brain.
   21      A    Of course I don't know.                         21   BY MS. McGRODER:
   22      Q    You don't know if he had an increased           22      Q     Are you aware of any evidence in the
   23   serotonin level or a decreased serotonin level          23   peer reviewed literature or in the world that
   24   at the time of his suicide; do you?                     24   Gabapentin, at 300 milligrams a day, causes
   25      A    Of course not.                                  25   impulsive suicide?



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   1       Q    You don't know if he had an increased            1      A     I'm not certain what the data sent to
   2    GABA level or a decreased GABA level at the              2   the FDA was, so I don't know if there were
   3    time of his suicide; do you?                             3   people on 300 milligrams a day within the FDA
   4       A    Of course not.                                   4   data. I just don't know.
   5       Q    At what dose, in your opinion, did               5      Q     So as you sit here today, you're not
   6    Mr. Smith's GABA level increase enough to cause          6   aware of any peer reviewed published literature
   7    a reduction in active serotonin that would have          7   stating that Gabapentin at 300 milligrams a day
   8    the clinical effect of making him impulsively            8   can cause suicide?
   9    commit suicide?                                          9      A     No.
   10      A    You can see changes. Again, this                10      Q     And you're not aware of any peer
   11   takes us back to Petroff studies. And if we go          11   reviewed literature stating that Gabapentin at
   12   back, Petroff was giving, I think 600 to                12   900 milligrams a day can cause suicide?
   13   900 milligrams in those MRI studies. So you             13      A     The dosages in the FDA analysis
   14   can show brain changes in the brain on doses            14   included people on 900 milligrams a day.
   15   equivalent to that which Mr. Smith was taking.          15      Q     And my question to you is: Are you
   16      Q    Did any of the patients in the                  16   aware of peer reviewed published literature
   17   Petroff study commit suicide?                           17   that concludes that Neurontin, specifically
   18      A    Some of them were volunteers -- no,             18   Neurontin, can cause suicide at 900 milligrams
   19   of course not.                                          19   a day?
   20      Q    Well, so my question is --                      20      A     I accept the FDA review as more
   21      A    No, they didn't.                                21   substantial than peer reviewed literature,
   22      Q    So my question is: What dose does it            22   because there were 20 peers reviewing those
   23   take -- what dose did it take in Mr. Smith,             23   data.
   24   consistent with your theory, that his GABA              24      Q     Twenty? Where do you get 20?
   25   level went up and his serotonin level dropped,          25      A     Oh, 21. 21, I beg your pardon.




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   1       Q     You're talking about the FDA advisory           1   serotonin level decreased, and resulted in an
   2    committee?                                               2   impulsive suicide?
   3       A    Correct.                                         3          MR. FINKELSTEIN: Objection.
   4       Q     And you're calling them a review                4          Asked and answered.
   5    body?                                                    5          THE WITNESS: I have said that 300
   6       A    High powered advisory body. Much                 6      milligrams may have been sufficient, but
   7    more discriminating than sending a paper to a            7      certainly the dose he was on was
   8    journal for peer review.                                 8      sufficient.
   9       Q    You understand, Dr. Trimble, that the            9   BY MS. McGRODER:
   10   FDA advisory committee does not perform a peer          10      Q     Assume that Mr. Smith was taking
   11   review function as, for example, the peer               11   900 milligrams per day. According to your
   12   review analysis that goes on, say in the                12   theory, how many doses of Neurontin would he
   13   Journal of American Psychiatry? You.                    13   have had to take in order to experience an
   14      Understand they are not performing that              14   increased GABA level that would cause a
   15   function; right?                                        15   reduction in serotonin that would result in an
   16      A    I said it's in many ways a more                 16   impulsive suicide?
   17   superior critical review than you would get             17      A     You see changes in the CNS chemistry
   18   through the peer review organization and                18   within four hours of ingesting the drug.
   19   journals.                                               19      Q     And are you saying the changes in CNS
   20      Q    And you understand the function of              20   chemistry will result in suicide?
   21   the FDA advisory committee was not to determine         21      A     That is the mechanism whereby drugs
   22   whether the data could be published or not              22   lead to behavior effects --
   23   published, or the rigor of the data, the                23      Q     Well, then, everybody --
   24   function was to answer certain questions put            24      A     -- through the CNS chemistry.
   25   them by the FDA -- you understand that; right?          25      Q     Then everybody who took Neurontin and



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   1            MR. FINKELSTEIN: Objection.                      1   it affected their CNS would commit suicide;
   2            THE WITNESS: Correct.                            2   agree?
   3    BY MS. McGRODER:                                         3          MR. FINKELSTEIN: Objection.
   4       Q     Other than the FDA meta analysis that           4          THE WITNESS: No, that, of course, is
   5    deals with 10 drugs other than Neurontin, do             5      not the case.
   6    you have any evidence in the -- can you, can             6          MS. McGRODER: Of course not.
   7    you show me any evidence in the peer reviewed            7          THE WITNESS: The question is in this
   8    published literature that Neurontin at                   8      specific case, we're talking about
   9    900 milligrams a day causes suicide?                     9      Mr. Smith's case not about everybody that
   10      A    No.                                             10      takes Neurontin or Gabapentin.
   11      Q     Other than the FDA meta analysis of            11   BY MS. McGRODER:
   12   11 anti-epileptic drugs, 10 of which are not            12      Q     And so my question is: Assuming he's
   13   Neurontin, do you have or can you show me any           13   taking 900 milligrams a day of Neurontin,
   14   evidence in the peer reviewed published                 14   according to your theory, how many doses of
   15   literature that Neurontin causes suicide at any         15   Neurontin would he have to take in order to get
   16   dose?                                                   16   an increased GABA level that would cause a
   17           MR. FINKELSTEIN: Objection.                     17   reduction in serotonin that would cause
   18           Asked and answered.                             18   impulsive suicide?
   19           THE WITNESS: Sorry, objection?                  19      A     That may well have occurred within
   20           MR. FINKELSTEIN: Asked and answered.            20   the first 12 hours.
   21           THE WITNESS: Oh, no.                            21      Q     So he could have just taken one dose?
   22   BY MS. McGRODER:                                        22      A     Well, you see biochemical changes
   23      Q     You can't tell me today what dose was          23   very soon. So one dose may have sent the chain
   24   required for Mr. Smith's GABA level to increase         24   rolling, if you like. Or the ball rolling.
   25   so that, according to your theory, his                  25      Q     So in your opinion, one dose is




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   1    enough?                                                  1   change of the chemical effect and, therefore, a
   2           MR. FINKELSTEIN: Objection.                       2   change of the clinical effect.
   3           THE WITNESS: In my opinion, one                   3      Q    Well, your answer says "may have
   4       dose -- well, you asked when you get the              4   been." I need to know right now, Professor
   5       biological effects, and you begin to get              5   Trimble, if that's your opinion?
   6       them after one dose.                                  6      A    It is.
   7    BY MS. McGRODER:                                         7      Q    Is it your opinion that the dose
   8       Q    Well, my question was slightly                   8   change did cause Mr. Smith's suicide or did
   9    different from biological effects, because               9   not?
   10   my -- my question included suicide at the end,          10          MR. FINKELSTEIN: Objection.
   11   which I assume you would consider a clinical            11          You're asking a question that may not
   12   effect; would you not?                                  12      have the definitive yes/no answer.
   13      A   No, it's a direct end point of                   13          THE WITNESS: We know that he was on
   14   altering CNS chemistry, which is the biology.           14      Gabapentin, we know he started on
   15   The trigger that changes a, this man's behavior         15      300 milligrams twice a day, we know he
   16   at the time that it did. So that's a                    16      increased the dose.
   17   biological effect.                                      17          With many drugs, if you increase the
   18      Q    Okay, so if one dose is enough, then            18      dose, you increase the effect. Indeed, it
   19   why did Mr. Smith not commit suicide after his          19      is the case with Gabapentin. So if you
   20   first dose of Neurontin?                                20      have a patient with a seizure disorder who
   21      A   Well, he clearly committed suicide               21      is not responding and you increase the
   22   after several weeks on this medication. And it          22      dose, you will improve the anti-epileptic
   23   may well be that the effects were magnified             23      effect. If you can improve the
   24   when the dose was increased, which is often the         24      anti-epileptic effect, then there's good
   25   case. That it's the change of dose which leads          25      reason to believe that you can also



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   1    to an alteration of the amount of change within          1      increase the potential for a side effect.
   2    the central nervous system. Which is fairly              2          So in answer to your question, there
   3    obvious, I suppose.                                      3      is good reason to believe that increasing
   4       Q    So --                                            4      the dose was instrumental in altering this
   5       A   But he had the dose change, which may             5      man's cerebral chemistry, leading to the
   6    well have been an important factor.                      6      ultimate suicidal act.
   7       Q    So is your opinion in this case that             7          MS. McGRODER: Object and move to
   8    the dose change on March 24, 2004 is what                8      strike.
   9    caused Mr. Smith to commit suicide?                      9   BY MS. McGRODER:
   10          MR. FINKELSTEIN: Objection.                      10      Q    My question is not whether there is
   11          THE WITNESS: That was contributing,              11   good reason to believe it or not good reason to
   12      in my belief, to the alteration of his               12   believe it.
   13      mental state, which was driven by                    13      My question is: What's your opinion? Is
   14      alteration of cerebral chemistry, yes.               14   your opinion that the dosage change on
   15   BY MS. McGRODER:                                        15   March 24th caused Mr. Smith's suicide?
   16      Q    It's a simple "yes" or "no" question,           16          MR. FINKELSTEIN: Objection.
   17   Doctor, Professor, excuse me, was the dose              17          THE WITNESS: I can't answer that
   18   change on March 24, 2004, the event that caused         18      question.
   19   Mr. Smith to commit suicide?                            19   BY MS. McGRODER:
   20          MR. FINKELSTEIN: Objection.                      20      Q    You don't know one way or the other?
   21   BY MS. McGRODER:                                        21      A    Well, I have explained the relative
   22      Q    In your opinion?                                22   nature of the ans -- of the question.
   23      A   The dose change may have been                    23      Q    Well, I'm not asking for a relative
   24   instrumental in altering his mental state               24   nature, I'm asking for your opinion. And I'm
   25   further. The increasing dose leading to a               25   entitled to your opinions during this




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            IN THE UNITED STATES DISTRICT COURT                        1
             FOR THE DISTRICT OF MASSACHUSETTS                         2                INDEX
                                   Continued                           3
        IN RE:                         Videotape                       4   WITNESS                   DIRECT
        NEURONTIN MARKETING, SALES : Deposition of:                    5   PROFESSOR MICHAEL TRIMBLE
        PRACTICES AND PRODUCTS                     :                   6
        LIABILITY LITIGATION               : MICHAEL TRIMBLE           7    Ms. McGroder                344
                               :                                       8

        ----------------------------                                   9             EXHIBITS
                                                                      10
        THIS DOCUMENT RELATES TO:
                                                                      11   NUMBER       DESCRIPTION                    PAGE
        Smith, et al. v Pfizer, et al.
                                                                      12   TRIMBLE
        Case No. 05-cv-11515-PBS
                                                                      13
             TRANSCRIPT of testimony as taken by and
                                                                      14   EXHIBIT 19    Shell report          352
        before PATRICIA A. SANDS, a Shorthand Reporter
                                                                      15   EXHIBIT 20    Neurogurgical records         399
        and Notary Public of the States of New York and
                                                                      16   EXHIBIT 21    UMC notes               404
        New Jersey, at the offices of Lanier Law Firm,
                                                                      17   EXHIBIT 22    Juurlink article      455
        126 East 56th Street, New York, New York, on
                                                                      18   EXHIBIT 23    Police report         482
        Wednesday, September 3, 2008, commencing at
                                                                      19   EXHIBIT 24    Medical examiner's report 489
        9:16 in the forenoon.                                         20   EXHIBIT 25    Suicide note            497
            REPORTING SERVICES ARRANGED THROUGH:                      21   EXHIBIT 26    Photo                508
            VERITEXT/NEW JERSEY REPORTING COMPANY                     22   EXHIBIT 27    Wood letter             539
                25B Vreeland Road, Suite 301                          23
               Florham Park, New Jersey 07932                         24
        Phone: (973) 410-4040             Fax: (973) 410-1313         25



                                                                341                                                           343
   1    A P P E A R A N C E S:                                         1   P R O F. M I C H A E L T R I M B L E,
   2                                                                   2    Institute of Neurology
   3    FINKELSTEIN & PARTNERS
                                                                            Queen Square
        436 Robinson Avenue
   4    Newburgh, New York 12550                                       3    London WCIN3CB,
        BY: ANDREW G. FINKELSTEIN, ESQ.                                     having been previously sworn, was
   5    For the Plaintiff                                              4    examined and testified as follows:
        800 634-1212
   6                                                                   5
   7    THE LANIER LAW FIRM                                            6         THE VIDEO OPERATOR: Please standby.
        Tower 56                                                       7         We are on the record. My name is
   8    126 East 56th Street, 6th Floor                                8     Adam DiCola of Veritext Corporate
        New York, New York 10022
   9    BY: KENNETH SOH, ESQ.                                          9     Services. The date today is September 3,
        For the Plaintiff                                             10     2008, and the time is approximately
   10   212 421-2800                                                  11     9:16 a.m. This deposition is being held
   11                                                                 12     in the office of Lanier Law Firm, located
        SHOOK, HARDY & BACON, LLP
   12   2555 Grand Boulevard                                          13     at 126 East 56th Street, New York, New
        Kansas City, Missouri 64108-2613                              14     York.
   13   BY: LORI CONNORS McGRODER, ESQ.                               15         The caption of this case is Smith, et
        For the Defendant
                                                                      16     al., versus Pfizer, et al., in the United
   14   816 474-6550
   15                                                                 17     States District Court, District of
   16                                                                 18     Massachusetts, Case Number
   17   ALSO PRESENT:                                                 19     05-CV-11515-PBS.
   18    Adam DiCola, Videographer
                                                                      20         The name of the witness is Professor
   19
   20                                                                 21     Michael Trimble.
   21                                                                 22         At this time the attorneys will
   22                                                                 23     identify themselves and the parties they
   23
   24                                                                 24     represent, after which our court reporter,
   25                                                                 25     Patricia Sands, will swear in the witness




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   1       A   Yes.                                            1      record for a second. We need to change
   2       Q    Have you considered that information           2      the tape.
   3    before?                                                3            THE VIDEO OPERATOR: Please Standby.
   4       A   Well, I have seen it, yes.                      4            We are going of the record, the time
   5       Q    Does that have any relevance to your           5      is 2:19 p.m. This concludes tape
   6    opinion?                                               6      number 3.
   7       A   No.                                             7            (Off the record.)
   8       Q    What is your understanding of Donna's          8            THE VIDEO OPERATOR: Please standby.
   9    illness?                                               9            We are back on the record, the time
   10      A   Well, she, I think she had had                 10      is 2:24 p.m. This is the beginning of
   11   carcinoma breast, and this had been diagnosed         11      tape number 4.
   12   and she had been in remission. Or was in              12   BY MS. McGRODER:
   13   remission around this time. So that's my              13      Q      Professor Trimble, would you agree
   14   understanding.                                        14   that Mr. Smith considered his daughter,
   15      Q    Do you also have an understanding             15   Donna's, illness a stressful life event?
   16   that Mr. Smith was very concerned about Donna         16            MR. FINKELSTEIN: Objection.
   17   at this time on May 10, 2004?                         17            THE WITNESS: I would imagine so.
   18      A   He was a parent with an unwell                 18   BY MS. McGRODER:
   19   daughter. I would think his concern was               19      Q      In the middle of this letter written
   20   perfectly acceptable.                                 20   by Dr. Wood, he says: "You know anything about
   21      Q    So you agree he was concerned about           21   Neurontin? I shook my head, not really, except
   22   Donna?                                                22   it is given for seizures. He then said he had
   23      A   I would think so, yes.                         23   gone online and looked it up saying it was
   24      Q    Did you know that Mrs. Smith told the         24   extremely powerful, with numerous side
   25   911 operator: "Our youngest daughter has been         25   effects".



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   1    suffering with cancer, and this has been too           1      Now using the word "powerful" those are,
   2    much". Were you aware of that?                         2   Dr. Wood's -- that's Dr. Wood's adjective;
   3       A   Too much for whom?                              3   right?
   4       Q    That's what she told the 911                   4            MR. FINKELSTEIN: Objection.
   5    operator.                                              5            THE WITNESS: Yes.
   6       A   I have no access to that record, as             6   BY MS. McGRODER:sashay
   7    you know, so I have no comment about it.               7      Q      And then the next sentence says:
   8       Q    Well, did you ask Mr. Finkelstein and          8      "Plus it makes me feel weird and it isn't
   9    his law firm whether there was a tape of the           9   helping me".
   10   911 call?                                             10      A     Yes.
   11      A   No.                                            11      Q      And the word "weird" that's not in
   12      Q    You weren't interested in hearing the         12   quotes?
   13   tape of the 911 call?                                 13      A     That's not in quotes.
   14      A   No.                                            14      Q      And that's Dr. Wood's adjective?
   15      Q    So you don't know that Mrs. Smith             15      A     That's correct.
   16   told the 911 operator, Mr. Smith -- referring         16      Q      Right?
   17   to Mr. Smith: "He says he couldn't face the           17      A     Yes.
   18   fact that his daughter had cancer".                   18      Q      And, and Mr. Smith reports that
   19      You weren't aware of that fact?                    19   Neurontin is not helping him; right?
   20      A   No.                                            20      A     That's correct.
   21      Q    And does that fact have any relevance         21      Q      And at this time, has Mr. Smith also
   22   to your opinion in terms of why Mr. Smith             22   reported to his doctors that he doesn't want
   23   committed suicide?                                    23   epidural steroid injections, because they are
   24      A   No.                                            24   not helping him; right?
   25          MS. McGRODER: Okay, let's go off the           25      A     Correct.




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   1       Q    He doesn't want physical therapy,                1   know one way or the other whether he completed
   2    because it's not helping him?                            2   taking the pills that were in the vile that he
   3       A   Correct.                                          3   filled at the pharmacy on March 9, 2004?
   4       Q    And none of the medications he is                4      A      That is correct.
   5    taking are helping him; right?                           5      Q      And there could be a full vile of
   6       A   That seems to be the case; correct.               6   pills left over, and that is something you
   7       Q    How many pills were left in the pill             7   didn't consider?
   8    bottle that the Smith family filled for                  8      A      That is correct.
   9    Neurontin on March 9, 2004?                              9      Q      Do you know the exact number of
   10      A   I don't know.                                    10   samples that were in Mr. Smith's possession?
   11      Q    Were there any?                                 11      A      I do not.
   12      A   I do not know.                                   12      Q      Is there any evidence in the record
   13      Q    You don't know one way or the other             13   of the exact number of samples that Mr. Smith
   14   whether Mr. Smith took the pills in the pill            14   took?
   15   vile that was filled on March 9, 2004?                  15      A      Not that I have seen.
   16      A   My understanding is, again, relying              16      Q      Do you consider anywhere in your
   17   on depositions, that Mr. Smith reliably took            17   report Donna Smith's illness, her cancer as a
   18   the medication he was prescribed.                       18   factor related to Mr. Smith's suicide?
   19      Q    And is your, is the sole basis for              19      A      I do not consider it a factor
   20   your understanding that Mr. Smith took the              20   relating to his suicide.
   21   medications as prescribed the family member             21      Q      It's not in your report?
   22   depositions in this case?                               22      A      It is not, and I do not consider it a
   23      A   And Mr. Smith's own -- well,                     23   factor.
   24   Mr. Smith himself on several occasions says I           24      Q      Is it your opinion in this case that
   25   am on Neurontin, weird is a term -- at the time         25   Neurontin caused Mr. Smith's suicide because



                                                          549                                                            551
   1    he says it makes him loopy. But he, himself,             1   more likely than not his suicide was impulsive?
   2    refers to the fact that he is on Neurontin.              2      A      It has not so much to do with
   3    And then the family depositions also consider            3   impulsivity, it has to do with the alteration
   4    him to have been reliable on taking                      4   of his mental state that occurs following the
   5    medications. So I no reason to doubt the fact            5   ingestion of Gabapentin or Neurontin.
   6    he was taking Neurontin.                                 6      Q      Tell me specifically what evidence
   7       Q    Have you looked to see how many pills            7   you rely on, the factual evidence in the
   8    were in the prescription vile of Neurontin that          8   record, that Mr. Smith's suicide was impulsive?
   9    Mr. Smith left on his dresser at the time of             9           MR. FINKELSTEIN: Objection as to
   10   his suicide?                                            10      form.
   11      A   I have not.                                      11           THE WITNESS: Well, I think I have a
   12      Q    So, again, you have no idea whether             12      difficulty with the term "impulsive". I'm
   13   he completed taking the pills that were                 13      not certain --
   14   prescribed for him? The Neurontin pills that            14   BY MS. McGRODER:
   15   were prescribed for him?                                15      Q      It's in your report?
   16      A   My understanding is that he had more             16      A      Yes, but this was not a carefully
   17   Neurontin given to him beyond those that were           17   planned, documented suicide where everything
   18   prescribed in a script.                                 18   was put in context, everything was sorted out,
   19      Q    Okay.                                           19   saying good-bye to people. This happened
   20      A   That's my understanding.                         20   suddenly.
   21      Q    Samples?                                        21      Now the term "impulsive" is used in a
   22      A   Well, in a sashay, as I believe.                 22   number of ways. I am using it to say that this
   23      Q    Well, we'll get there.                          23   was not a carefully planned, or even
   24      A   Okay.                                            24   predictable suicide event. It came out of the
   25      Q    Right now the question is you don't             25   blue.




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